         Case 25-10087-dll                   Doc 3 Filed 04/25/25 Entered 04/25/25 00:17:14                                               Desc Ch 7
                                               First Mtg Corp No POC Page 1 of 1
Information to identify the case:
Debtor
                Reliable Waste Management, LLC                                                  EIN:   92−1324095
                Name

United States Bankruptcy Court       Eastern District of Kentucky                                Date case filed for chapter:         7      4/24/25

Case number:        25−10087−dll
Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                             12/15

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered. This notice has important information about the case for creditors, debtors, and trustees, including
information about the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        Reliable Waste Management, LLC

2. All other names used in the
   last 8 years
3. Address                                   1440 Booth Quillen Road
                                             Ashland, KY 41102

4. Debtor's attorney                         Elizabeth Opell Thomas                                               Contact phone 606−324−5131
                                             Wilson, Stavros, Rowsey & Thomas
    Name and address                         1916 Carter Ave.                                                     Email:
                                             PO Box 807                                                           ethomas@wilsonstavros.legaloffice.pro
                                             Ashland, KY 41105

5. Bankruptcy trustee                        Michael L. Baker                                                     Contact phone (859) 426−1300
                                             541 Buttermilk Pk #500
    Name and address                         PO Box 175710                                                        Email: trusteemlb@zslaw.com
                                             Covington, KY 41017−5710

6. Bankruptcy clerk's office                 United States Bankruptcy Court                                       Hours open:
                                             Eastern District of Kentucky                                         9:00am − 3:00pm, Monday − Friday
    Documents in this case may be            100 E Vine Street Ste 200
    filed at this address. You may           Lexington, KY 40507−1430
    inspect all records filed in this case                                                                        Contact phone (859) 233−2608
    at this office or online at
    pacer.uscourts.gov.                                                                                           Date: 4/25/25

7. Meeting of creditors                      June 2, 2025 at 10:30 AM                                             Location:
    The debtor's representative must
    attend the meeting to be                 The meeting may be continued or adjourned to a later date. If        Zoom video meeting. Go to
    questioned under oath. Creditors         so, the date will be on the court docket. For additional meeting     Zoom.us/join, Enter Meeting ID 916 584
    may attend, but are not required to      information go to https://www.justice.gov/ust/moc                    8685, and Passcode 3028207013, OR call
    do so.                                                                                                        (859)347−2967

8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
    to do so.

9. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.

10. Options to Receive Notices (1) Anyone can register for the Electronic Bankruptcy Noticing program at ebn.uscourts.gov
    served by the Clerk by     OR (2) Debtors can register for Debtor Electronic Bankruptcy Noticing (DeBN) by filing a
    Email Instead of by U.S.   local form with the Clerk of Court. DeBN information and local form are available at
    Mail                       kyeb.uscourts.gov/debtor−electronic−bankruptcy−noticing−debn. Both options are FREE
                               and allows the clerk to quickly send you court−issued notices and orders by email.
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